                        Nos. 23-1590 and 23-1591
                                         IN THE

               United States Court of Appeals
                              for the Third Circuit

AL SCHMIDT, in his official capacity as Acting Secretary of the Commonwealth of
   Pennsylvania, and JONATHAN M. MARKS, in his official capacity as Deputy
                   Secretary for Elections and Commissions
                                  Defendants-Appellants/Cross-Appellees,
                                           v.
                  PUBLIC INTEREST LEGAL FOUNDATION, INC.,
                                    Plaintiff-Appellee/Cross-Appellant,

  On Appeal from the United States District Court for the Middle District of
    Pennsylvania, Case No. 1:19-cv-00622 (Hon. Christopher C. Conner)



                   APPELLEE/CROSS-APPELLANT
               PUBLIC INTEREST LEGAL FOUNDATION’S
                        SECOND STEP BRIEF


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                 CORPORATE DISCLOSURE STATEMENT

      The Public Interest Legal Foundation is a non-profit, 501(c)(3) organization.

It is not a publicly held corporation and no corporation or other publicly held entity

owns more than 10% of its stock.




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                        JURISDICTIONAL STATEMENT

        Plaintiff-Appellee/Cross-Appellant Public Interest Legal Foundation

(“Foundation”) brought a one-count complaint alleging a violation of Section (8)(i)

of the National Voter Registration Act of 1993 (“NVRA”), 52 U.S.C. §

20507(i)(1). ECF 1.1 The district court had jurisdiction pursuant to 28 U.S.C. §

1331, because the action arises under the laws of the United States, and 52 U.S.C.

§ 20510(b), because the action seeks declaratory and injunctive relief under the

NVRA. This Court has jurisdiction pursuant to 28 U.S.C. § 1291.




1
    District Court docket numbers are preceded by “ECF.”
                                       1
            STATEMENT OF ISSUES PRESENTED FOR REVIEW

      1.     Whether the District Court correctly held that the Foundation has

standing.

      The Commonwealth contested the Foundation’s standing in the District

Court. See ECF 14 at 14-16. The District Court held that the Foundation has

standing. See Appx020.

      2.     Whether the District Court correctly held that the NVRA’s Public

Disclosure Provision, 52 U.S.C. § 20507(i)(1), is not limited to records

concerning registrant death or changes in residence, but covers all voter list

maintenance records, including records concerning eligibility evaluations

based on citizenship.

      The Commonwealth contested the NVRA’s scope in the District Court. See

ECF 14 at 6-11. The District Court rejected the Commonwealth’s arguments. See

Appx007-014.

      3.     Whether the District Court correctly determined that the

Commonwealth’s voter list maintenance activities were motivated solely by an

objectively reasonable anticipation of litigation, as required to invoke the

attorney work product doctrine.




                                     2
      The Foundation raised and contested this issue in the District Court. See

ECF 67 at 18-23; ECF 71 at 8-12; ECF 75 at 8-12. The District Court ruled on this

issue in its summary judgment memorandum. See Appx038-043.




                                      3
                     STATEMENT OF RELATED CASES

      This case has not been before this Court previously.

      The Foundation filed an identical action prior to this action, which was

dismissed. See Pub. Int. Legal Found. v. Boockvar, 370 F. Supp. 3d 449 (M.D. Pa.

2019).

      The Foundation is not aware of any other case related to this action.




                                      4
                          STATEMENT OF THE CASE

Introduction

      With the NVRA, Congress intended to increase and enhance registration and

voting by “eligible citizens,” “protect the integrity of the electoral process,” and

“ensure that accurate and current voter registration rolls are maintained.” 52 U.S.C.

§ 20501(b)(1)-(4). To accomplish these goals, Congress created the NVRA’s

Public Disclosure Provision, 52 U.S.C. § 20507(i)(1), a broad and powerful federal

open records law, and a private right of action, 52 U.S.C. 20510(b). These two

components serve vital oversight and enforcement functions, which ultimately

promote all the NVRA’s purposes. In short, Congress intended maintenance of

state voter rolls to be transparent, because oversight and accountability safeguard

the right to vote.

      The NVRA’s Public Disclosure Provision requires public disclosure of “all

records concerning the implementation of programs and activities conducted for

the purpose of ensuring the accuracy and currency of official lists of eligible

voters.” 52 U.S.C. 20507(i)(1). As a threshold question, this case asks whether

Congress meant what it said. Consistent with the overwhelming weight of

authority, the District Court answered that question “yes,” finding that the Public

Disclosure Provision “contemplates an indefinite number of programs and


                                        5
activities,” Appx012 (emphasis in original), including the Commonwealth’s “effort

to identify noncitizen registrants,” Appx014. The District Court’s holding should

be affirmed because it was compelled by the NVRA’s plain language and comports

with Congress’s intent. In the simplest terms, the Secretary engaged in “programs

and activities” designed to make the Commonwealth’s voter roll more accurate.

Records concerning those activities thus fall squarely within the Public Disclosure

Provision’s unambiguous and broad scope.

      Congress specifically identified the two types of records that are not open to

inspection, 52 U.S.C. § 20507(i)(1), and the District Court correctly declined to

“read unexpressed limitations into an unambiguous statute’s terms,” Appx011.

With rare exceptions, largely not applicable here, “the balance between privacy

and transparency must be struck by the legislature, not the courts.” Appx037.

Where appropriate, the District Court applied the Driver’s Privacy Protection Act

according to its text, so that the NVRA and the DPPA both remain effective. The

Commonwealth offers no compelling reason to disturb the District Court’s

reasoned judgment.

      This case also asks whether election officials may veto Congress’s

transparency goals by abdicating voter list maintenance decisions to outside legal

counsel. Here, the Commonwealth seeks to hide its mistakes behind the attorney


                                       6
work product privilege, by simply claiming its actions were motivated by an

abstract fear of litigation—rather than the manifest need to remedy a decades-long

problem that allowed foreign nationals to register and vote. The answer to these

questions will impact the state of election transparency here and in election offices

throughout the country.

Statement of Facts

      1.     The Foundation is a non-partisan, public interest organization that was

headquartered in Indianapolis, Indiana when this action was filed. 2 The Foundation

promotes the integrity of elections nationwide as part of its mission. Appx025;

ECF 67-1 ¶ 3. The Foundation does this, in part, by using state and federal open

records laws (e.g., the NVRA Public Disclosure Provision) to study and analyze

the voter list maintenance activities of state and local governments. ECF 67-1 ¶ 3.

Where necessary, the Foundation also takes legal action to compel compliance

with state and federal voter list maintenance laws. Id. The Foundation has

dedicated significant time and resources to ensure that voter rolls in the

Commonwealth of Pennsylvania, and other jurisdictions throughout the United

States, are free from ineligible registrants, including deceased individuals, foreign



2
 The Foundation has since moved its headquarters to Alexandria, Virginia. See
https://publicinterestlegal.org/contact/ (last accessed Oct. 26, 2023).
                                       7
nationals, individuals who are no longer residents, and individuals who are

simultaneously registered in more than one jurisdiction. Id.

      2.     The Foundation has filed multiple lawsuits in the Commonwealth of

Pennsylvania concerning voter list maintenance. See, e.g., Public Interest Legal

Foundation v. Boockvar, Civ. No. 1:20-cv-1905 (M.D. Pa., filed Oct. 15, 2020)

and Public Interest Legal Foundation v. Voye, Civ. No. 2:20-cv-00279 (W.D. Pa.,

filed Feb. 24, 2020). ECF 67-1 ¶ 3.

      3.     In late 2017, the Commonwealth publicly admitted that non-United

States citizens had registered to vote at Pennsylvania Department of Motor Vehicle

offices (“PennDOT”) for the last several decades (hereafter, the “PennDOT

Error”)3. Appx025; ECF 66 ¶ 6.

      4.     The Commonwealth acknowledged the PennDOT Error in written and

oral testimony before the Pennsylvania General Assembly. Appx025; ECF 66 ¶ 6.




3
  The Commonwealth describes the cause of noncitizen registration as a “software
error.” Doc. 25 at 4. The term “software error” suggests that PennDOT’s
registration software did not function correctly or as designed. That is not the case
here. The software functioned exactly as designed. If there was any “error”
involved, it was an error in judgment—namely, the decision to offer the
opportunity to register to vote to applicants before verifying each applicant’s
citizenship. See ECF 66-2 at 2. The Foundation uses the term “PennDOT Error” in
this brief to refer to the subject of noncitizen registration at PennDOT offices.
                                       8
        5.    The Commonwealth engaged in a three-stage remedial program in

response to the PennDOT Error.

        6.    The first stage—referred to by the District Court as the “Initial

Analysis”—began in September 2017. Appx026; ECF 66 ¶¶ 47-49. During the

Initial Analysis, the Commonwealth collaborated with PennDOT to compare voter

registration records with PennDOT records containing INS indicators, which

signify “that the license holder was, at some point in their life, something other

than a United States citizen.” Appx027; see also ECF 66 ¶¶ 49-50. The Initial

Analysis “identified approximately 100,000 registered voters ‘who may potentially

be non-citizens or may have been non-citizens at some point in time.’” Appx027

(quoting ECF 64-1 ¶ 13; ECF 66 ¶ 51); see also ECF 66 ¶ 51.

        7.    The second stage—referred to by the District Court as the “Statewide

Analysis”—also began in or around September 2017. Appx027; ECF 66 ¶ 55.

During the Statewide Analysis, the Commonwealth searched the statewide voter

registration database (formally known as the SURE 4 database) “for records related

to any voter registrations cancelled by a county simply because the registrant was

not a citizen[.]” Appx027; see also ECF 66 ¶ 55.

        The [S]tatewide [A]nalysis produced voting registration records for
        1,160 individuals. (See [ECF 66] ¶¶ 55, 59). However, the 1,160

4
    SURE means Statewide Uniform Registry of Electors.
                                        9
      records reflected only those registrants who self-reported their status as
      noncitizens and voluntarily requested their voter registration be
      cancelled. (See id. ¶ 58). Of the 1,160 noncitizen registrants, 248 voted
      in at least one election prior to cancelling their registration. (See id. ¶¶
      60-61).

Appx027; ECF 66 ¶¶ 55, 58, 61. “In conjunction with the [S]tatewide [A]nalysis,

the Commonwealth asked counties to provide copies of any cancellation requests

received by the county from noncitizens seeking to cancel their voter registration.”

Appx027 (citing ECF 64-1 ¶ 11). However, “[o]nly Allegheny, Philadelphia, and

Dauphin Counties provided records in response to the request.” Id.

      8.     The third stage—referred to by the District Court as the “Noncitizen

Matching Analysis”—began after the Statewide Analysis. Appx028.

      9.     During the Noncitizen Matching Analysis, the Commonwealth

“engaged with an expert to do an analysis of voter registration records and motor

vehicle records to determine the, the [sic] universe of potential individuals that

required more – had more scrutiny in terms of their, their qualifications specifically

related to citizenship[.]” ECF 66 ¶ 62; see also Appx028 (“The expert analyzed the

Commonwealth’s voting records, including the SURE database, to identify

registrants whose eligibility to vote required additional scrutiny in terms of

citizenship.”).




                                       10
      10.    The Commonwealth explained and summarized the Noncitizen

Matching Analysis in a July 2018 statement prepared by its communications office

entitled “Voter Registration & Election Integrity” (hereafter, the “Expert Analysis

Statement”). ECF 66 ¶ 63.

      11.    The Expert Analysis Statement provides, in part:

      The Department also undertook the following steps to investigate and
      address the concern that some ineligible individuals registered to vote:
   • The Department retained an expert to conduct a full analysis of
     registration data by comparing the voter rolls with other available state
     databases. The initial analysis yielded a responsible list of individuals
     for whom voter registration status required further confirmation.
   • Prior to the May 2018 primary, the department mailed letters to 7,702
     of those registrants whose registration status was active. Because the
     data analysis was ongoing, the immediate goal was to remind the
     individuals of voter eligibility requirements before the primary.
   • Based on further expert analysis, the Department mailed letters to
     11,198 registrants on June 12, including those with active and inactive
     status, asking the recipients to affirm their eligibility to vote or to
     submit a request to cancel their registration.
   • After the responsive affirmations and requests for cancellation were
     taken into account, on June 29 another round of letters with a similar
     message was mailed to those who had not responded.

ECF 66 ¶ 64.

      12.    The 7,702 registrants who received the letter referenced in bullet point

2 of paragraph 11 “required additional scrutiny regarding their qualifications” to

register to vote. ECF 66 ¶ 66. Each of these registrants received a letter “reminding

them of the eligibility requirements for voting.” Appx028.
                                       11
      13.    The 7,702 registrants who received the letter referenced in bullet point

2 of paragraph 11 were separate from the 1,160 voter registration records analyzed

in the Statewide Analysis. ECF 66 ¶ 67.

      14.    The 11,198 registrants referenced in bullet point 3 of paragraph 11

received a letter asking them to affirm or cancel their registration (hereafter, the

“Affirm or Cancel Letter”). ECF 66 ¶ 68; Appx028; see also ECF 66-11.

      15.    The Commonwealth kept a list of responses to the Affirm or Cancel

Letter. ECF 66 ¶ 69; see also Appx028.

      16.    Of the recipients of the Affirm or Cancel Letter, 1,915 mailed back

the Letter to the Department of State with an affirmative response indicating they

were citizens and qualified to be registered. ECF 66 ¶ 70.

      17.    Of the recipients of the Affirm or Cancel letter, 215 mailed back to

county offices requesting cancellation of their voter registration record. ECF 66 ¶

72.

      18.    Of the recipients of the Affirm or Cancel letter, 8,698 either did not

respond or had undeliverable addresses. ECF 66 ¶ 73. The Commonwealth has not

provided all records concerning these letter recipients. See, e.g., Doc. 25 at 14-15.

      19.    The Department of State provided information on those 8,698 letter

recipients to county offices with instructions to “handle the registrants according to


                                       12
their normal processes employed to verify addresses and confirm eligibility.” ECF

66 ¶ 74.

      20.   In October 2017, pursuant to NVRA’s Public Disclosure Provision,

the Foundation requested from the Commonwealth four (4) categories of records.

See Appx028-029; ECF 66 ¶ 9.

      21.   The Commonwealth denied the Foundation’s request. Appx030; ECF

66 ¶¶ 17, 21.

Procedural History

      The Foundation requested the Commonwealth’s records more than six years

ago, on October 23, 2017. See ECF 1-9. The Secretary denied the request, and on

February 26, 2018, the Foundation filed an action to enforce the NVRA, alleging

that the Secretary violated the NVRA by denying the Foundation access to the

requested records. ECF 1, Public Interest Legal Foundation v. Torres, No. 1:18-

cv-00463 (M.D. Pa., filed Feb. 2, 2018). That action was dismissed for failure to

provide proper notice under the NVRA. Boockvar, 370 F. Supp. 3d at 458.

      The Foundation cured the statutory notice deficiency and filed the present

action on April 10, 2019. ECF 1. On December 12, 2019, the District Court

granted in part and denied in part the Secretary’s motion to dismiss. Appx022-023.




                                     13
      On March 31, 2022, the District Court granted in part and denied in part

both parties’ motions for summary judgment. Appx050-051. In an order dated

February 27, 2023, upon Motion of the Commonwealth, the District Court clarified

its judgment, but denied the Secretary’s motions for reconsideration and to amend

or alter the judgment. Appx053-058.

      The Secretary filed a notice of appeal on March 29, 2023. Appx059. The

Foundation filed a notice of cross appeal on March 30, 2023. Appx061.




                                      14
                           STANDARD OF REVIEW

      This Court “employ[s] a de novo standard of review to grants of summary

judgment, ‘applying the same standard as the District Court.’” Montone v. City of

Jersey City, 709 F.3d 181, 189 (3d Cir. 2013) (quoting Pa. Coal Ass’n v. Babbitt,

63 F.3d 231, 236 (3d Cir. 1995)).




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                       SUMMARY OF THE ARGUMENT

      Thirty years ago, Congress decided that decisions about who is and is not

eligible to vote should be transparent and publicly accessible. That decision is

embodied in the NVRA’s Public Disclosure Provision, which mandates that “all

records” related to the implementation of voter list maintenance activities are

subject to public inspection. 52 U.S.C. § 20507(i)(1).

      The NVRA’s Public Disclosure Provision is no ordinary transparency law.

Its unique and expansive scope is deliberate because it is designed to protect the

right that is “preservative of all rights”—the right to vote. Yick Wo v. Hopkins, 118

U.S. 356, 370 (1886). The Public Disclosure Provision “embodies Congress’s

conviction that Americans who are eligible under law to vote have every right to

exercise their franchise, a right that must not be sacrificed to administrative

chicanery, oversights, or inefficiencies.” Project Vote/Voting for Am., Inc. v. Long,

682 F.3d 331, 334-35 (4th Cir. 2012) (“Project Vote”). To that end, Congress

designed the Public Disclosure Provision to shed light on all activities that

determine who belongs and who does not belong on the voter rolls. As one federal

district court put it, the Public Disclosure Provision “convey[s] Congress’s

intention that the public should be monitoring the state of the voter rolls and the

adequacy of election officials’ list maintenance programs. Accordingly, election


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officials must provide full public access to all records related to their list

maintenance activities, including their voter rolls.” Bellitto v. Snipes, No. 16-cv-

61474, 2018 U.S. Dist. LEXIS 103617, at *12-13 (S.D. Fla. Mar. 30, 2018).

      The Commonwealth seeks reversal upon an incorrect interpretation of the

NVRA that strays far from the plain-meaning analysis this Court must conduct.

The Commonwealth’s view finds no support in the NVRA’s text or in any court

opinion to date. It is also contrary to the United States’s interpretation.

       The NVRA’s Public Disclosure Provision unambiguously requires public

inspection of “all records concerning the implementation” of voter list maintenance

activities. 52 U.S.C. § 20507(i)(1). Congress identified the records that are exempt

from this disclosure mandate, id., and beyond those records, Congress made no

exceptions. Records concerning the Commonwealth’s efforts to identify registrants

who may lack citizenship fall within the NVRA’s scope because those records

“concern[]” activities that were conducted to maintain an accurate voter roll. The

District Court did not err when it so concluded.

      The Commonwealth’s interpretation would cause absurd and damaging

results, chief among them the concealment of records showing who is and who is

not eligible to vote and how government officials make eligibility determinations.

Such an outcome would erode transparency and undermine the NVRA’s purposes,


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because “[w]ithout such transparency, public confidence in the essential workings

of democracy will suffer.” Project Vote, 682 F.3d at 339. Congress did not limit

the NVRA’s sweeping inspection provision to a subset of activities, as the

Commonwealth claims. Instead, Congress drafted the NVRA broadly, and that

choice has enormous significance and must be given effect, as it has by other

courts.

       The District Court correctly applied the plain language of the Driver’s

Privacy Protection Act (“DPPA”) to find that DPPA shields only personal

information derived exclusively from DMV records. Appx036-037. In other words,

the DPPA “does not protect information derived from non-DMV sources even

when that information is included in a record containing personal information

obtained from DMV records.” Id. To find otherwise, as the Commonwealth urges,

would expand the DPPA beyond its text, elevate one law over another, and result

in the concealment of records showing why a registrant lost her right to vote or was

not eligible in the first place.

       The District Court did not, however, correctly apply the attorney work

product doctrine to the facts of this case. The Noncitizen Matching Analysis was

not the product of the Commonwealth’s objectively reasonable anticipation of

litigation. Rather, it was the final step of a multi-stage investigation into a decades-


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old failure in conducting ordinary list maintenance. The Commonwealth knew of

the problem as early as 2015 and openly acknowledged its efforts to find and

implement a remedy. It defies logic—and the record—to conclude that the last

stage of the Commonwealth’s remedial plan—and only that stage—had no other

purpose than litigation readiness, especially when the analysis had a clearly

identifiable goal: identifying who should receive an eligibility letter. What is

logical, and what is supported by the record, is this: the Secretary’s actions would

have taken place whether or not litigation was expected to ensue. The work

product doctrine therefore does not apply.

      Last, the Commonwealth’s standing arguments are meritless. This Circuit

has already addressed the impact of TransUnion LLC v. Ramirez, 141 S. Ct. 2190

(2021) and found that “the [Supreme] Court did not amend the informational injury

doctrine in TransUnion; rather, it simply applied its prior precedent[.]” Kelly v.

Realpage Inc., 47 F.4th 202, 213 (3d Cir. 2022). In any event, the Foundation has

standing because it has demonstrated an informational injury and the adverse

effects of that injury—namely, the inability to evaluate and scrutinize the

Secretary’s voter list maintenance activities and the inability to educate the public

and election officials about same. Congress sought to promote precisely these

types of activities when it passed the NVRA Public Disclosure Provision.


                                       19
                                   ARGUMENT

   I.      The Foundation Has Standing.

        The District Court correctly held that the Foundation has standing because

the Foundation suffered an informational injury that caused downstream

consequences—namely, the inability to do the very things Congress envisioned

when it crafted the NVRA Public Disclosure Provision. The Commonwealth’s

arguments to the contrary misconstrue precedent and rely on the mistaken belief

that the informational injury doctrine has changed. It has not. If the

Commonwealth’s erroneous view of standing is adopted, not even the Press will

have standing to gather information about the most egregious voter list

maintenance errors. This Court should decline the Commonwealth’s invitation to

dismantle a vital oversight mechanism designed to safeguard the right to vote.

           A. The Informational Injury Doctrine Applies.

        The Informational Injury Doctrine is decades old. In Public Citizen v. United

States Department of Justice, 491 U.S. 440, 449 (1989), the Supreme Court

explained that to establish standing in public-records cases, the plaintiff does not

“need [to] show more than that they sought and were denied specific agency

records.” There, the plaintiff sought records pursuant to the Federal Advisory

Committee Act (“FACA”). The Supreme Court held that FACA created a public


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right to information by requiring advisory committees to the executive branch of

the federal government to make available to the public its minutes and records,

with some exceptions. 491 U.S. at 446-47. The defendant asserted that the plaintiff

did not “allege[] [an] injury sufficiently concrete and specific to confer standing.”

Id. at 448. The Supreme Court “reject[ed] these arguments.” Id. at 449.

      As when an agency denies requests for information under the Freedom
      of Information Act, refusal to permit appellants to scrutinize the ABA
      Committee’s activities to the extent FACA allows constitutes a
      sufficiently distinct injury to provide standing to sue.

Id. In other words, the inability to “scrutinize” the activities of government

“constitutes a sufficiently distinct injury.” Id. The Court reaffirmed the holding of

Public Citizen in FEC v. Akins, 524 U.S. 11 (1998), explaining, “a plaintiff suffers

an ‘injury in fact’ when the plaintiff fails to obtain information which must be

publicly disclosed pursuant to a statute.” Id. at 21.

      Citing Public Citizen and Akins, the Eastern District of Virginia rejected a

similar attack on standing under the NVRA, explaining that “[f]or a plaintiff to

sufficiently allege an informational injury, it must first allege that the statute

confers upon it an individual right to information, and then that the defendant

caused a concrete injury to the plaintiff in violation of that right.” Project

Vote/Voting for Am., Inc. v. Long, 752 F. Supp. 2d 697, 702 (E.D. Va. 2010). The

court first recognized that “the NVRA provides a public right to information.” Id.

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at 703. Where there is “no dispute that the plaintiff has been unable to obtain the

[r]equested [r]ecords,” “the plaintiff’s alleged informational injury is sufficient to

survive a motion to dismiss for lack of standing.” Id. at 703-04.

      For similar reasons, the Southern District of Texas ruled that the Foundation

had standing to compel citizenship-related list maintenance records under the

NVRA. Pub. Interest Legal Found. v. Bennett, No. H-18-0981, 2019 U.S. Dist.

LEXIS 39723, at *8-*10 (S.D. Tex., Feb. 6, 2019) (denying motion to dismiss),

adopted by Pub. Interest Legal Found., Inc. v. Bennett, No. 4:18-CV-00981, 2019

U.S. Dist. LEXIS 38686 (S.D. Tex., Mar. 11, 2019). The Southern District of

Indiana accords. See Judicial Watch, Inc. v. King, 993 F.Supp.2d 919, 923 (S.D.

Ind. 2012) (citing Akins, 524 U.S. at 24-25) (“As noted above, the Plaintiffs assert

two distinct violations of the NVRA. With regard to the Records Claim, the

Defendants do not—and cannot—assert that the Plaintiffs lack standing.”).

          B. TransUnion LLC v. Ramirez Did Not Change the Informational
             Injury Doctrine.

      The Commonwealth suggests that in TransUnion LLC v. Ramirez, 141 S. Ct.

2190 (2021), the Supreme Court revised the Informational Injury Doctrine to

require more from plaintiffs than what was required under Public Citizens and

Akins. (Doc. 25 at 26.) Not so. This Circuit has already addressed the impact of

TransUnion and found that “the [Supreme] Court did not amend the informational

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injury doctrine in TransUnion; rather, it simply applied its prior precedent[.]” Kelly

v. Realpage Inc., 47 F.4th 202, 213 (3d Cir. 2022). By “prior precedent,” the Third

Circuit was referring to Public Citizens and Akins, as well as Spokeo, Inc. v.

Robins, 578 U.S. 330 (2016). “TransUnion did not cast doubt on the broader

import of those decisions. In fact, the Court cited Public Citizen and Akins with

approval, reaffirming their continued viability and putting TransUnion in context.”

Realpage Inc., 47 F.4th at 212. The Third Circuit confirmed this view just weeks

ago in Huber v. Simons Agency, Inc., No. 22-2483, 2023 U.S. App. LEXIS 27069,

at *12 (3d Cir. Oct. 12, 2023), in which the Court explains, “In short, entitlement

to the information allegedly withheld is the sine qua non of the informational

injury doctrine.”

      The Informational Injury Doctrine thus remains the same after TransUnion.

      [T]o state a cognizable informational injury a plaintiff must allege that
      “they failed to receive … required information,” and that the omission
      led to “adverse effects” or other “downstream consequences,”
      TransUnion, 141 S. Ct. at 2214 (internal quotation omitted), and such
      consequences have a nexus to the interest Congress sought to protect,
      Spokeo, 578 U.S. at 342.

Realpage Inc., 47 F.4th at 214.

      This issue warrants a few more points of clarification. First, the

Commonwealth is flat wrong when it states the District Court issued its decision on

standing “without the benefit of TransUnion.” (Doc. 25 at 17.) TransUnion was

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decided on June 25, 2021. The District Court issued its summary judgment order

more than nine months later, on March 31, 2022. Appx050. In fact, TransUnion

was decided before the Commonwealth filed its summary judgment reply

memorandum. See ECF 74 (filed June 28, 2021). The Commonwealth then had

more than nine months to file a notice of supplemental authority to notify the

District Court about TransUnion. The Commonwealth chose not to. None of this

ultimately matters because TransUnion did not change the standard articulated in

Public Citizen and Akins, see Realpage Inc., 47 F.4th at 213, the decisions on

which the District Court decided the standing question.

      Second, the Commonwealth is wrong again when it suggests that any

alleged “adverse effects” and “downstream consequences” must independently

satisfy the Article III standard. Doc. 25 at 21-24. If that were the case, the Supreme

Court would have simply required plaintiffs to plead a deprivation of information

and a separate “injury in fact.” The Supreme Court does not require a separate and

independent Article III “injury in fact” to establish a cognizable informational

injury. The Court simply requires “(1) the denial of information and (2) some

consequence caused by that omission.” Realpage Inc., 47 F.4th at 213 (emphasis

added). Lujan v. Defs. Of Wildlife, 504 U.S. 555, 560 (1992), Sierra Club v.

Morton, 405 U.S. 727, 739 (1972), and Blunt v. Lower Merion Sch. Dist., 767 F.3d


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247, 288 (3d Cir. 2014) are not informational injury cases, and the

Commonwealth’s reliance on them is therefore misplaced.

      Huber confirms that the Informational Injury Doctrine is a separate inquiry

from traditional standing analysis. 2023 U.S. App. LEXIS 27069, at *9-*23

(finding that the plaintiff did not have standing under the Information Injury

Doctrine but did have standing under traditional standing principles). The Third

Circuit explained that in Realpage Inc., the Court “deemed [the Informational

Injury] doctrine an exception to the usual concreteness requirement that a plaintiff

identify a close historical or common-law analogue to her cause of action.” Id. at

*12 (citing Realpage Inc., 47 F.3d at 212 n.8).

         C. The Foundation Has Been Deprived of Information and Suffered
            Adverse Effects Contrary to the Intent of Congress.

      To have standing, the Foundation must show (1) it failed to receive required

information; (2) it suffered “adverse effects” or other “downstream consequences”;

and, (3) such consequences have a nexus to the interest Congress sought to protect.

Realpage Inc., 47 F.4th at 214.

      First, the Commonwealth does not dispute that the Foundation requested

information pursuant to the NVRA and did not receive that information. Indeed,

the Commonwealth’s appeal continues to prevent the Foundation from receiving



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the voter list maintenance records requested many years ago, which the District

Court ordered the Commonwealth to produce.

      Second, the Foundation has suffered three primary “adverse effects” or

“downstream consequences” resulting from the Commonwealth’s refusal to

provide the required information. First, the Foundation cannot “study and analyze

the [Commonwealth’s] voter list maintenance activities,” ECF 66 ¶ 3, because the

Commonwealth failed to provide those voter list maintenance records. The

Commonwealth’s denial of the Foundation’s request is a “refusal to permit [the

Foundation] to scrutinize the [Commonwealth’s] activities to the extent [NVRA]

allows.” Public Citizen, 491 U.S. at 499. The NVRA Public Disclosure Provision

was designed to allow scrutiny of voter list maintenance activities, and therefore

denying the Foundation the ability to “scrutinize” those activities in the

Commonwealth “constitutes a sufficiently distinct injury to provide standing to

sue.” Id.

      Because it cannot effectively analyze and scrutinize the Commonwealth’s

activities, the Foundation also cannot effectively “take action to promote election

integrity and compliance with federal and state statutes,” including voter list

maintenance statutes. Id. (“Where necessary, the Foundation also takes legal action

to compel compliance with state and federal voter list maintenance laws.”); see


                                       26
also ECF 1 ¶ 135 (“A central activity of the Foundation is to promote election

integrity and compliance with federal and state statutes which promote the integrity

of elections.”). Second, the Commonwealth’s actions frustrate the educational

aspect of the Foundation’s mission. The Foundation regularly produces and

disseminates educational materials concerning the accuracy of voter registration

records and the adequacy of voter list maintenance programs, including “the

inadequacies of state election systems in preventing noncitizens from registering

and voting.” ECF 1 ¶ 134. “Using records and data compiled through use of the

NVRA’s public inspection provision, the Foundation has produced written reports

concerning the registration and voting activity of noncitizens.” ECF 1 ¶ 133. For

example, the Foundation published a report focused on noncitizen registration and

voting in Allegheny County, Pennsylvania, 5 which was made possible only

because Allegheny County complied with the NVRA. Third, the Foundation

expended considerable time and financial resources attempting to obtain the




5
 Public Interest Legal Foundation, Steeling The Vote: Allegheny County Reveals
How Citizenship Verification Protects Citizens and Immigrants Alike, July 12,
2018, available at https://publicinterestlegal.org/pilf-files/Steeling-the-Vote-
7.11.18.pdf (last accessed Oct. 27, 2023).
                                     27
requested records so that it could engage in the activities just described. See

Boockvar, 370 F. Supp. 3d at 456.6

      The Commonwealth does not dispute any of the facts concerning the

Foundation’s mission, the Foundation’s intended activities, the Foundation’s

inability to engage in those activities, or the resources the Foundation expended

attempting to obtain the requested records. In other words, these facts were and are

undisputed for purposes of the District Court’s summary judgment ruling.

      Third, the adverse effects described above have a strong nexus to the exact

interests Congress sought to protect. Congress told us exactly what interests the

NVRA was designed to protect. As the District Court recognized, “Congress

identified several purposes of the NVRA within the statute itself. These

include, inter alia, ‘to protect the integrity of the electoral process’ and ‘to ensure

that accurate and current voter registration rolls are maintained.’” Boockvar, 370 F.

Supp. 3d at 455 (quoting 52 U.S.C. § 20501(b)(3)-(4)). The NVRA’s Public

Disclosure Provision furthers Congress’s purposes by allowing the public to

monitor, analyze, assess, and critique the work of election officials. Transparency

fosters accountability.


6
 The District Court correctly rejected the argument—repeated here, Doc. 25 at 22-
23—that the resources the Foundation expended in pursuit of the requested records
were litigation expenses. Boockvar, 370 F. Supp. 3d at 456 n.4.
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      In the words of another federal court, the NVRA’s Public Disclosure

Provision is “available to any member of the public … and convey[s] Congress’s

intention that the public should be monitoring the state of the voter rolls and the

adequacy of election officials’ list maintenance programs.” Bellitto, 2018 U.S.

Dist. LEXIS 103617, at *12-13. Indeed, Congress made all list maintenance

records subject to public inspection precisely so that the public can enjoy a

transparent election process and assess compliance with federal laws. “Public

disclosure promotes transparency in the voting process, and courts should be loath

to reject a legislative effort so germane to the integrity of federal elections.”

Project Vote, 682 F.3d at 339-40.

      The Foundation’s intended activities—namely, analysis, education, and

remedial action concerning voter list maintenance—are precisely the activities

Congress envisioned when it passed the Public Disclosure Provision. There is a

nexus between the adverse effects the Foundation faces and the interests Congress

sought to protect via the NVRA. See Realpage Inc., 47 F.4th at 214.

      The Commonwealth’s narrow view of standing under the NVRA effectively

dismantles Congress’s design for the Public Disclosure Provision. Consider the

following: the Commonwealth reported that in 2022 it cancelled more than

185,000 inactive voter registration records pursuant to what the Commonwealth


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calls its “Voter Removal Program.” 7 Imagine the Philadelphia Inquirer wanted to

investigate those removals to determine whether they were lawful. According to

the Commonwealth, it could deny the Inquirer’s request and the Inquirer would not

have standing to contest the denial in federal court. Congress did not intend such a

result. Congress intended effective and robust oversight of the sort that the Inquirer

and other media provide.

      It is no less absurd for the Commonwealth to argue that the Foundation—a

public interest organization dedicated to studying and improving voter list

maintenance activities—does not have standing to compel production of voter list

maintenance records under a federal law designed to make voter list maintenance

transparent. The Commonwealth’s view of standing under the NVRA is contrary to

the intent of Congress and would thwart rather than promote the NVRA’s goals.

         D. The Foundation Has Standing Under the Fifth Circuit’s Decision
            in Campaign Legal Center. v. Scott.

      The “downstream consequences” the Foundation has demonstrated

distinguish it from the plaintiffs in Campaign Legal Center. v. Scott, 49 F.4th 931


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  Pennsylvania Department of State, Administration of Voter Registration in
Pennsylvania: 2022 Annual Report to the Pennsylvania General Assembly, June
30, 2023, available at
https://www.dos.pa.gov/VotingElections/OtherServicesEvents/VotingElectionStati
stics/Documents/Annual%20Reports%20on%20Voter%20Registration/DOS_Vote
r_Registration_Report_2022_FINAL.pdf (last accessed Oct. 27, 2023).
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(5th Cir. 2022). Scott likewise arose from a records request under NVRA’s Public

Disclosure Provision. Id. at 933. The plaintiffs sought “information including the

names and voter identification numbers of persons suspected of being noncitizens

though registered to vote.” Id. at 932. Plaintiffs “obtained an injunction from the

district court requiring the State of Texas to provide [this] information.” Id.

      On appeal, the Fifth Circuit reversed and remanded with instructions to

dismiss, holding that the plaintiffs did not adequately allege an injury sufficient to

establish standing. Id. at 939. The Fifth Circuit interpreted the Supreme Court’s

decision in TransUnion LLC v. Ramirez, 141 S. Ct. 2190 (2021) to mean that

“even in public disclosure-based cases, plaintiffs must and can assert ‘downstream

consequences,’ which is another way of identifying concrete harm from

governmental failures to disclose.” Scott, 49 F.4th at 938. Plaintiffs failed to meet

this standard because they made only a “freestanding informational injury claim”

that “lack[ed] downstream consequences.” Id. 938-39.

      The Court explained:

      On appeal, Plaintiffs attempt to establish standing by asserting three
      theories of informational injury standing. First, Plaintiffs contend that
      as “civic engagement organizations . . . [they] have standing to request
      records under the NVRA[]” and therefore have a right to the requested
      registrant records. Second, they maintain that “there is [a] downstream
      injury with respect to the public not having visibility into how Texas is
      keeping its voter lists[.]” Third, Plaintiffs assert that “there is [a]
      downstream injury with respect to the public not having visibility into

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      … properly registered Texans being discriminated against and
      burdened in their right to vote.” The first theory was rejected by this
      court only a few weeks ago, and the other two theories encompass no
      more than alleged injuries to the public and affected Texas voters writ
      large.

Scott, 49 F.4th at 936 (emphasis added).

      The Court noted further that plaintiffs “do not allege that identification of

voter names and identification numbers will directly lead to action relevant to the

NVRA or any other statute, nor that their direct participation in the electoral

process will be hindered.” Id. at 938.

      Whereas the plaintiffs in Scott alleged speculative injuries to others not

before the court, Scott, 49 F.4th 936 (“the public and affected Texas voters writ

large) (emphasis added), the Foundation alleges injuries to itself that are directly

traceable to the Commonwealth’s refusal to disclose information under the NVRA.

For example, the Foundation cannot effectively evaluate the accuracy of the

Commonwealth’s voter rolls nor the effectiveness of investigation and remedies

undertaken by the Commonwealth in response to the PennDOT Error, activities

that Congress intended when it passed the NVRA, see Bellitto, No. 16-cv-61474,

2018 U.S. Dist. LEXIS 103617, at *12 (“To ensure that election officials are

fulfilling their list maintenance duties, the NVRA contains public inspection

provisions.”).


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         The “downstream consequences” the Foundation identifies are consistent

with the examples articulated by the Scott concurrence, including the need “to

engage in public advocacy about a pressing matter of policy.” Scott, 49 F.4th at

940 (Ho, J., concurring in the judgment).

         Even assuming Scott correctly applied TransUnion and other Informational

Injury cases, the Foundation has satisfied the Scott standard.

   II.      The District Court Correctly Held that the Requested Records are
            Within the Public Disclosure Provision’s Scope.

         The uniform weight of authority supports the District Court’s interpretation

of the NVRA, including Pub. Interest Legal Found., Inc. v. N.C. State Bd. of

Elections, 996 F.3d 257, 267 (4th Cir. 2021), in which the Fourth Circuit held that

a state election “Board’s efforts in the present case to identify noncitizen

registrants qualify as a ‘program’ or ‘activity’ to ensure an accurate list of eligible

voters.” The Commonwealth’s efforts similarly qualify and therefore fall squarely

within the Public Disclosure Provision’s broad reach. The District Court did not err

when it read the NVRA’s text to mean what it says.

         “In any case involving statutory interpretation, we must begin with

the statutory text,” United States v. Moreno, 727 F.3d 255, 259 (3d Cir. 2013)

(citing United States v. Gonzales, 520 U. S. 1, 4 (1997), “and the assumption that

the ordinary meaning of that language accurately expresses the legislative

                                        33
purpose,” Gross v. FBL Fin. Servs., 557 U.S. 167, 175 (2009) (citations and

quotations omitted). “It is well established that when the statute’s language is

plain, the sole function of the courts—at least where the disposition required by the

text is not absurd—is to enforce it according to its terms.” Lamie v. United States

Tr., 540 U.S. 526, 534 (2004) (citations and quotations omitted); See also Conn.

Nat’l Bank v. Germain, 503 U.S. 249, 254 (1992) (“When the words of a statute

are unambiguous, then, this first canon is also the last: ‘judicial inquiry is

complete.’”) (citations omitted). “Courts properly assume, absent sufficient

indication to the contrary, that Congress intends the words in its enactments to

carry their ordinary, contemporary, common meaning.” Pioneer Inv. Servs. v.

Brunswick Assocs. Ltd. P’ship, 507 U.S. 380, 388 (1993) (citations and quotations

omitted).

            A. The Commonwealth Has Waived Any Challenge to the District
               Court’s Plain-Meaning Analysis.

      The Commonwealth pays lip service to the rules of statutory construction,

Doc. 25 at 26, but does not faithfully apply them. The Commonwealth does not

examine the common meaning of any word or phrase nor explain why the District

Court plain-meaning analysis was wrong. The Commonwealth has therefore

waived any challenge to the District Court’s definitional analysis. Graden v.

Conexant Sys. Inc., 496 F.3d 291, 296 n.7 (3d Cir. 2007) (“Absent compelling

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circumstances … failing to raise an argument in one’s opening brief waives it.”);

see also FDIC v. Deglau, 207 F.3d 153, 169 (3d Cir. 2000) (“The Deglaus did not

raise this issue in their opening brief on appeal. They have therefore waived it, and

we will not address it.”).

          B. Neither the Language, Context, nor Intent of the NVRA Supports
             the Commonwealth’s View that the Public Disclosure Provision is
             Limited to Records Concerning Death and Relocation.

      Despite the Commonwealth’s waiver, it nevertheless argues that the Public

Disclosure Provision’s scope is limited to records concerning “voters who died or

moved.” Doc. 25 at 31. The District Court correctly rejected this interpretation.

             i. The NVRA’s Words Unambiguously Encompass the
                Commonwealth’s Activities.

      Fundamentally, the Commonwealth’s interpretation violates principles of

statutory construction. The Supreme Court instructs that “courts must presume that

a legislature says in a statute what it means and means in a statute what it says

there.” Germain, 503 U.S. at 253-254. The language of the Public Disclosure

Provision is unambiguous: “Each state … shall make available for public

inspection … all records concerning the implementation of programs and

activities conducted for the purpose of ensuring the accuracy and currency of

official lists of eligible voters.” 52 U.S.C. § 20507(i)(1) (emphasis added).



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Congress did not limit these words to subsets of records. Rather, Congress made all

list maintenance records subject to inspection, period.

      Neither the word “death” nor the phrase “change in residency” appears in

the Public Disclosure Provision. “[Where] Congress includes particular language

in one section of a statute but omits it in another section of the same Act, it is

generally presumed that Congress acts intentionally and purposely in the disparate

inclusion or exclusion.” Russello v. United States, 464 U.S. 16, 23 (1983). Had

Congress intended to limit the Public Disclosure Provision as the Commonwealth

believes, it would have done so. However, “Congress did not write the statute that

way.” Id.

      Relying on the words Congress wrote, the District Court concluded that the

Commonwealth’s activities plainly qualify as a “program” or “activity” under the

NVRA. Appx014. A “‘program’ is ‘a schedule or system under which action may

be taken towards a desired goal,’” and “[a]n ‘activity’ is a ‘natural or normal

function or operation.’” Appx010 (citations omitted). “Applying these definitional

terms,” the District Court earlier concluded that “the [Public] Disclosure Provision

requires states to disclose ‘all records concerning the implementation’ of a

schedule or system designed to serve a specific end, or a particular function or




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operation, ‘conducted for the purpose of ensuring the accuracy and currency of

official lists of eligible voters.’” Id. (quoting 52 U.S.C. § 20507(i)(1)).

      The Commonwealth does not dispute that its investigation, analysis, and

remedial activities concerning the PennDOT Error were “conducted for the

purpose of ensuring the accuracy and currency of official lists of eligible voters.”

Id. Indeed, the Commonwealth clearly outlined the purpose of the analysis: “to

investigate and address the concern that some ineligible individuals registered to

vote[.]” ECF Doc. 66-4 at 1. The Commonwealth confirms its list-maintenance

purpose at length in its First Step Brief. Doc. 25 at 4-5, 7-8. The District Court

therefore logically concluded that “[t]he records requested by PILF were created

pursuant to a system designed to identify ineligible voters based on their noncitizen

status,” and “[t]hus the Commonwealth’s effort to identify noncitizen registrants is

a ‘program’ or ‘activity’ designed to identify noncitizens and ensure an accurate

and current list of eligible voters.” Appx014. Any argument to the contrary is

waived, undisputed, self-contradictory, and meritless.

      The District Court’s interprets the NVRA’s scope consistently with two

Fourth Circuit cases. In Project Vote v. Long, the district court held that “a

program or activity covered by the Public Disclosure Provision is one conducted to

ensure that the state is keeping a ‘most recent’ and errorless account of which


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persons are qualified or entitled to vote within the state.” 752 F.Supp.2d at 706. In

that case, the plaintiff sought voter registration applications completed by students

at a Historically Black University, and which were rejected by the local election

official. The district court explained, “The process by which the Commonwealth

determines whether a person is eligible to vote certainly falls within the purview of

the federal statute, as such a process, by its very nature, is designed to ensure that

the Commonwealth’s lists are current and accurate.” Id. The Public Disclosure

Provision thus broadly requires public access to all records related to

determinations of eligibility, like those requested by the Foundation. E.g., ECF.

No. 1-9 (describing requests). Notably, the Commonwealth seeks to shrink the

covered categories under the NVRA to records related to death or change of

residence, and the voter registration forms deemed subject to Public Disclosure by

the court in Project Vote fall outside those limits.

      Affirming the holding on appeal, the Fourth Circuit found citizenship

verification on a voter registration form to be an indispensable part of the

eligibility and list maintenance process.

      Without verification of an applicant’s citizenship, age, and other
      necessary information provided by registration applications, state
      officials would be unable to determine whether that applicant meets the
      statutory requirements for inclusion in official voting lists.”

Project Vote, 682 F.3d at 336 (emphasis added).

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      Later, in Pub. Interest Legal Found., Inc. v. N.C. State Bd. of Elections, 996

F.3d 257, 267 (4th Cir. 2021) (“NCSBE”), the Fourth Circuit directly held what it

had suggested in Project Vote—that efforts to determine the eligibility of

registered noncitizens qualify as programs and activities under the NVRA. Id. at

267 (holding that the “Board’s efforts in the present case to identify noncitizen

registrants qualify as a ‘program’ or ‘activity’ to ensure an accurate list of eligible

voters.”).

      Pennsylvania law makes United States citizenship a requirement for

eligibility to vote, 25 Pa.C.S. § 1301(a)-(b), which is precisely what made the

PennDOT Error at the root of this case so problematic. Thus, Pennsylvania election

officials regularly use citizenship as one criterion used to “evaluate[] whether

persons belong on the list of eligible voters, thus ensuring the accuracy of those

lists.” Project Vote, 752 F.Supp.2d at 707. Whether citizenship is evaluated

regularly, or in response to a decades-long “error,” the “process of review is a

‘program’ because it is carried out in the service of a specified end—maintenance

of voter rolls—and it is an ‘activity’ because it is a particular task and deed of

election employees.” Project Vote, 682 F.3d at 335.8


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 See also Bennett, No. H-18-0981, 2019 U.S. Dist. LEXIS 39723, at *10 (“PILF
has alleged a plausible claim under the public disclosure provisions of §
20507(i).”).
                                       39
      Evaluating the eligibility of voters based on citizenship status (or for any

reason whatsoever)—and affirming or canceling registrations as necessary—falls

squarely within the Public Disclosures Provision’s mandate. That is exactly what

the Commonwealth did. “All records” of the Commonwealth’s actions are subject

to disclosure. 52 U.S.C. § 20507(i)(1).

             ii. The District Court Correctly Declined to Read Additional
                 Limitations into the NVRA’s Text.

      The Commonwealth’s interpretation would also require this Court to insert

words into the NVRA where Congress chose not to. The NVRA’s text expressly

“identifies the information which Congress specifically wished to keep

confidential.” Project Vote, 752 F.Supp.2d at 710. Such confidential information is

limited to “records relate[d] to a declination to register to vote or to the identity of

a voter registration agency through which any particular voter is registered.” 52

U.S.C. § 20507(i)(1). Congress included no other exceptions. See Project Vote,

682 F.3d at 336. The Foundation does not seek textually exempted information and

thus no textual exemption applies here.

      The District Court observed that “[t]he Disclosure Provision’s two

exceptions are narrow and specific,” Appx011 (citing 52 U.S.C. § 20507(i)(1)).

“The contrast between the broad mandate to disclose ‘all’ records and the tailored

protection of two types of records implies that Congress crafted this provision

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carefully. We will not (and indeed, must not) read unexpressed limitations into an

unambiguous statute’s terms.” Id. (citations and quotations omitted).

      The Commonwealth’s reliance on the Federal Election Commission’s guide,

Doc. 25 at 38 n.7, suffers from multiple fatal defects. First, Congress did not

authorize the FEC, or its successor, the Election Assistance Commission (EAC), to

implement the NVRA. The FEC affirmatively disavowed having any such

authority in the FEC guide’s “Preface,” which the Commonwealth omits from its

brief. See FEC guide at P-1 9 (“It is very important to note, however, that the

Federal Election Commission does not have legal authority either to interpret the

Act or to determine whether this or that procedure meets the requirements of the

Act.”). This alone counsels against giving the FEC Guide any weight.

      Next, “the courts are the final authorities on issues of statutory construction,

and are not obliged to stand aside and rubber-stamp their affirmance of

administrative decisions that they deem inconsistent with a statutory mandate or

that frustrate the congressional policy underlying a statute.” Volkswagenwerk

Aktiengesellschaft v. Fed. Mar. Comm’n, 390 U.S. 261, 272 (1968) (citations and



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 Available at
https://www.eac.gov/sites/default/files/eac_assets/1/1/Implementing%20the%20N
VRA%20of%201993%20Requirements%20Issues%20Approaches%20and%20Ex
amples%20Jan%201%201994.pdf (last accessed Nov. 1, 2023).
                                       41
quotations omitted). The FEC was squarely wrong about what the NVRA requires

in terms of disclosure. The NVRA’s plain text requires disclosure of “all records”

concerning list maintenance activities, not just those included in Section 8(i)(2).

See Mercy Catholic Med. Ctr. v. Thompson, 380 F.3d 142, 152 (3d Cir. 2004)

(explaining that courts “owe no deference to an agency interpretation plainly

inconsistent with the relevant statute “).

             iii. Section 8’s Other Provisions Do Not Support the
                  Commonwealth’s Narrow Interpretation.

      Even if the Commonwealth could overcome threshold definitional and plain-

meaning matters—which it cannot—its narrow interpretation would still fail for

want of contextual support. Citing approximately fifteen of Section 8’s other

subsections, the Commonwealth ultimately reasons that because the Public

Disclosure Provisions “appears in the same section of the NVRA” as the

requirement to remove deceased and relocated registrants, see 52 U.S.C. §

20507(a)(4), the word “programs” in the Public Disclosure Provision “must

necessarily refer to the ‘programs’ to purge voters who died or moved, which are

required by Section 20507(a)(4).” (Doc. 25 at 31.) The District Court correctly

concluded that “[t]he Disclosure Provision’s text and its neighboring subsections

do not support this narrow interpretation.” Appx010.



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      For starters, Section 20507(a)(4) is not the only list maintenance obligation

that appears in Section 8, nor is it the only other subsection that uses the words

“program” or “activity.” Sections 20507(b) and (c) also appear alongside the

Public Disclosure Provision. Those subsections are expansive, referring,

respectively, to “any state program or activity to protect the integrity of the

electoral process by ensuring the maintenance of an accurate and current voter

registration roll for elections for Federal office” and “any program the purpose of

which is to systematically remove the names of ineligible voters from the official

lists of eligible voters.” (Emphases added). Under the Secretary’s own proximity-

based theory then, the Public Disclosure Provision would encompass any program

or activity conducted for list maintenance purposes—including activities

concerning cancellations based on citizenship. See Arcia v. Sec’y of Fla., 772 F.3d

1335, 1344 (11th Cir. 2014) (interpreting NVRA Section 8(c)(2)(A) to govern

programs to remove noncitizen registrants). Observing the “obvious” similarities

between the Public Disclosure Provision and Subsection 20507(b), the District

Court correctly concluded that “[i]t is more likely Congress’s use of ‘programs and

activities’ in the Disclosure Provision is a reference to subsection 20507(b), not the

Mandatory Removal Provision,” i.e., Section 20507(a)(4).




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      Logic dictates that Congress intended each use of the word “program” or

“activity” to stand alone, modified only by the preceding or succeeding language,

unless explicitly modified by another subsection of the NVRA. Indeed, on at least

27 occasions in Section 8, Congress expressly refers to another section of the

NVRA, another subsection of Section 8, or another statute. The District Court

prudently recognized that “Congress knew how to refer to other subsections in

drafting the NVRA,” and “could have identified the Mandatory Removal Provision

by section” if it intended to limit its reach. Appx011; see also, e.g., 52 U.S.C. §

20507(i)(2) (requiring disclosure of the names and addresses of “all persons to

whom notices described in subsection (d)(2) are sent”) (emphasis added). Yet

Congress chose not to limit the Public Disclosure Provision by reference to any

other provision of the law. Instead, it designed the law for maximum transparency,

requiring disclosure of “all records” concerning list maintenance activities.

      The explicit exceptions Congress drafted also critically undermine the

Commonwealth’s argument. Neither a “declination to register to vote” nor the

“agency” through which a registrant registered has anything to do with programs to

remove deceased and relocated registrants. It would have made no sense for

Congress to exclude these records by name, if the Public Disclosure Provision

never included them at the outset. The Commonwealth’s interpretation renders


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these exceptions superfluous, and such a result should be avoided. See Encompass

Ins. Co. v. Stone Mansion Rest. Inc., 902 F.3d 147, 152 (3d Cir. 2018)

(“An absurd interpretation is one that defies rationality or renders the statute

nonsensical and superfluous.”) (citations and quotations omitted).

      The Foundation maintains that there is no need to look to the Public

Disclosure Provision’s neighboring provisions because the relevant text is clear,

unambiguous, and susceptible of only one meaning on its face. To the extent those

neighboring provisions provide interpretive help, they support the District Court’s

conclusion, for the reasons articulated above.

             iv. The Commonwealth’s Narrow Interpretation Would Frustrate
                 Congress’s Intent.

      The District Court also correctly concluded that its reading of the NVRA

would “also further[] the NVRA’s purposes.” Appx013. Congress designed the

NVRA to “protect the integrity of the electoral process” and “ensure that accurate

and current voter registration rolls are maintained.” 52 U.S.C. § 20501(b)(3)-(4).

To further these goals, Congress made the voter list maintenance records subject to

public inspection. Bellitto, 2018 U.S. Dist. LEXIS 103617, at *12-13 (explaining

that the Public Disclosure Provision “convey[s] Congress’s intention that the

public should be monitoring the state of the voter rolls and the adequacy of

election officials’ list maintenance programs.”); True the Vote v. Hosemann, 43 F.

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Supp. 3d 693, 721 (S.D. Miss. 2014) (“The NVRA Public Disclosure Provision is

one means of ensuring compliance with the NVRA’s stated goals. By opening up

voter registration records for inspection, the Public Disclosure Provision shines a

light on States’ voter registration activities and practices.”).

      The Secretary’s interpretation would allow election officials to conceal

records concerning every facet of eligibility not related to death or residency. A

Commonwealth registrant who did not die, did not move, yet was improperly

canceled by election officials would be barred from reviewing the list maintenance

records that led to her illegal cancellation. Despite Congress’s intent to make such

decisions transparent, the Commonwealth stubbornly insists on concealment. In the

commonsense and error free words of the District Court, “a broad reading

promotes the integrity of the voting process and ensures a public vehicle for

ensuring accurate and current voter rolls.” Appx013.

             v. The United States Rejects the Commonwealth’s Narrow
                Interpretation.

      The United States recently addressed the Public Disclosure Provision’s

scope in amicus curiae briefs filed in the First and Eleventh Circuits. In each brief,

the United States rejects the Commonwealth’s view that the Public Disclosure

Provision is limited to records concerning registrant death and relocation.



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      In Public Interest Legal Foundation v. Bellows, the United States explained

that the Public Disclosure Provision “applies to voter registration databases” like

Maine’s official list of eligible voters, i.e., the voter roll. Doc. 00118033423 at 7,

Public Interest Legal Foundation v. Bellows, Case No. 23-1361 (1st Cir., filed July

25, 2023). This is because the Public Disclosure Provision “regulates registration

as well as list-maintenance activities.” Id. at 12.

      The United States rebutted the argument the Commonwealth makes here—

namely, that “Section 8(i) reaches only the purposeful, periodic list-maintenance

programs authorized and regulated by the remainder of § 8.” Id. at 15 (citations

and quotations omitted).

      Section 8(i)’s text cannot be read to tether disclosure to those programs
      alone. “If Congress had wanted the provision to have that effect, it
      could have said so in words far simpler than those that it wrote.” Biden
      v. Texas, 142 S. Ct. 2528, 2539 (2022). It could have limited disclosure
      to records of “list-maintenance programs described in this section.” Or
      it could have employed language like that in other provisions of Section
      8, which limit themselves to the removal of names or other particular
      list-maintenance processes. E.g., 52 U.S.C. 20507(a)(4), (c)(2), (d) and
      (f). But Section 8(i) uses general language, applying to all records
      concerning implementation of programs “conducted for the purpose of
      ensuring the accuracy and currency of official lists of eligible voters.”
      52 U.S.C. 20507(i)(1).

Id. at 15 (emphasis in original).

      In Greater Birmingham Ministries v. Secretary of State for the State of

Alabama, the United States explained that the Public Disclosure Provision covers

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list maintenance records related to felony convictions: “The district court correctly

held that Section 8(i) applies both to lists of those denied registration generally,

and to lists of those denied registration or removed from the voting rolls due to

felony convictions specifically.” Doc. 32 at 6, Greater Birmingham Ministries v.

Secretary of State for the State of Alabama, Case No. 22-13708 (11th Cir., filed

March 20, 2023).

      In both cases, the United States based its position on the statute’s text and

the nature of the activities—that they concerned the accuracy of the voter roll—

rather than limiting the statute’s scope to activities mandated by law. See Doc.

00118033423 at 7-11, Bellows, Case No. 23-1361.; Doc. 32 at 6-10, Greater

Birmingham Ministries, Case No. 22-13708.

      The United States also confirms that “the FEC’s rulemaking authority never

extended to the NVRA’s public disclosure provision.” Doc. 00118033423 at 17,

Bellows, Case No. 23-1361 (citing Pub. L. No. 103-31, § 9(a), 107 Stat. 87 (as

amended 52 U.S.C. 20508(a)).) “[I]t is the statute’s clear language that ultimately

controls.” Id.

             vi. The Commonwealth’s Response to the PennDOT Error
                 Included Statutory Programs.

      The imaginary wall the Commonwealth builds between its so-called “special

investigation” of the PennDOT Error, Doc. 25 at 2, and “programs and activities

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mandated by statute” ultimately does not help the Commonwealth. Most, if not all,

registrants connected to the PennDOT Error were registered through a process

mandated by the NVRA and Commonwealth law—namely, mandatory registration

at state motor vehicle offices. See 52 U.S.C. § 20504(a)(1); 25 Pa.C.S. §

1323(a)(1). Records related to those registrations fall squarely within the NVRA’s

scope, even under the Commonwealth’s interpretation.

      Moreover, the Commonwealth explains that as part of response to the

PennDOT Error, it initiated cancellations at the request of the registrant. Doc. 25 at

17. Again, these requests fall within the NVRA, 52 U.S.C. § 20507(a)(3)(A), and

Commonwealth law, 25 Pa.C.S. § 1901(a)(1). Even if Congress limited the Public

Disclosure Provision to statutory programs—which it did not—the Commonwealth

would still be required to disclose the names and addresses of registrants who were

sent the Affirm or Cancel Letter because such records “concern” the

Commonwealth’s statutory “programs.”

   III.   The District Court Correctly Held that The Commonwealth Must
          Disclose Records Concerning Registrants Who Did Not Affirm Their
          Citizenship.

      The Commonwealth sent 11,198 registrants a letter that asked each recipient

to affirm or cancel her registration, i.e., the Affirm or Cancel Letter. ECF 66 ¶ 68;

Appx028; see also ECF 66-11. The District Court allowed the Commonwealth to


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redact the names and addresses of letter recipients who “affirmed their eligibility to

vote.” Appx056 n.6. The District Court ordered them to produce the names and

addresses of recipients “who responded to the letter by cancelling their registration,

or who failed to reply to the letter or have not been confirmed to be citizens.” Id.

      The Commonwealth will not accept the balance the District Court struck,

demanding the right to conceal even more of its response to an egregious, decades-

long blunder. Enough is enough. The District Court properly balanced competing

interests, while giving the NVRA effect. The decision below was correct.

          A. A Request to Cancel a Registration Record Is Not A “Declination
             to Register to Vote” under 52 U.S.C. § 20507(i)(1).

      As explained earlier, the Public Disclosure Provision exempts two specific

records, one of which is records that “relate to a declination to register to vote.” 52

U.S.C. § 20507(i)(1). The Commonwealth asserts, for the first time on appeal, that

anyone who responded to the Affirm or Cancel Letter by requesting cancellation

of their voter registration record should be treated as declining registration under

Section 20507(i)(1). (Doc. 25 at 38.)

      This argument fails for at least two reasons. First, the Commonwealth

waived it by not raising it before the District Court. United States v. Joseph, 730

F.3d 336, 337 (3d Cir. 2013) (“We hold that for parties to preserve an argument for



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appeal, they must have raised the same argument in the District Court—merely

raising an issue that encompasses the appellate argument is not enough.”).

      Second, cancellation and declination are two distinct acts, performed by two

distinct persons (election officials and applicants, respectively), and Congress

treated these actions differently in the NVRA.

      Context and consistent usage cannons further support this view. Where

Congress referred to canceling a voter registration record, it used the word

“remove.” For example, in Section 20507, Congress mentioned removing a

registrant form the official list of eligible voters seven times, including removal “at

the request of the registrant,” 52 U.S.C. § 20507(a)(3)(A), the type of cancellation

the Commonwealth contests. Naturally, for removal to occur, the registrant must

already be registered. Thus, when Congress spoke of cancellation or removal, it

referred to maintenance of existing voter registration records.

      Where Congress referred to a “declination to register,” it used a different

word: “declination.” Congress’s use of a different word indicates that “declination”

does not mean “remove” or cancel. See Russello, 464 U.S. at 23. (“[Where]

Congress includes particular language in one section of a statute but omits it in

another section of the same Act, it is generally presumed that Congress acts

intentionally and purposely in the disparate inclusion or exclusion.”). Where


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Congress used the word “declination” it was referring to an applicant’s act of

declining the opportunity to register in the first instance. For example, in Section

20504, Congress required applications provided at motor vehicle offices to include

a statement explaining that “if an applicant declines to register to vote, the fact

that the applicant has declined to register will remain confidential and will be used

only for voter registration purposes.” 52 U.S.C. § 20504(c)(2)(D)(ii). Section

20504’s reference to confidentiality is also a clear reference the NVRA Public

Disclosure exception for declination data, 52 U.S.C. 20507(i)(1).

      In Sections 20506 and 20508, Congress further addressed “declination” in

terms of the application process. 52 U.S.C. § 20506(a)(6)(B) (addressing

requirements for applications provided by public assistance offices); 52 U.S.C. §

20508(b)(4)(ii) (addressing the requirements for the mail voter registration form).

Like Section 20504, Section 20508 also refers to the confidentiality of declination

data, 52 U.S.C. § 20508(b)(4)(ii), which is another clear reference to the NVRA

Public Disclosure Provision’s exception for the same data.

      Considering that Congress designed the NVRA to shed light on the work of

election officials, it makes sense to treat cancellations differently than declinations.

Cancellation—even when performed at the request of a registrant—is an act of

maintenance performed by election officials. Transparency reveals whether


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officials acted appropriately and lawfully. A declination of registration, on the

other hand, is an act performed by an individual person and requires no action by

officials.

             B. The District Court Appropriately Balanced the NVRA Public
                Disclosure Provision with the DPPA.

       The Commonwealth raised the Driver’s Privacy Protection Act (“DPPA”)

below as a defense to disclosure under the NVRA. The DPPA regulates the use of

driver’s license records—not voter list maintenance records. The DPPA prohibits

disclosure of “personal information … about any individual obtained by the

department in connection with a motor vehicle record[.]” 18 U.S.C. § 2721(a)(1).

“Personal information” includes names and addresses contained in motor vehicle

records. 18 U.S.C. § 2725(3). The DPPA is implicated here only because the

Commonwealth chose to compare voter registration records to PennDOT records

as part of its response to the PennDOT Error. See, e.g., Appx093 ¶ 12; Appx094 ¶

17.

       The District Court read the DPPA to mean what it says and applied it so that

the NVRA and the DPPA both remain effective because “courts are not at liberty

to pick and choose among congressional enactments.” Morton v. Mancari, 417

U.S. 535, 551 (1974). “[W]hen two statutes are capable of co-existence, it is the



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duty of the courts, absent a clearly expressed congressional intention to the

contrary, to regard each as effective.” Id.

      In its order denying the Commonwealth’s motion to dismiss, the District

Court explained, “The glitch-related records and derivative lists created during the

Commonwealth’s investigation are protected by the DPPA to the extent they

include personal information obtained by the DMV in connection with a motor

vehicle record.” Appx017 (emphasis added). In its order disposing of the parties’

summary judgment motions, the District Court unpacked its prior holding,

explaining,

      The Commonwealth’s interpretation of our ruling is overbroad. As
      indicated by our use of the phrase “to the extent they include,” our
      holding applies only to the personal information obtained from DMV
      motor vehicle records and information derived from that personal
      information. (See Doc. 23 at 17). Our holding does not protect
      information derived from non-DMV sources even when that
      information is included in a record containing personal information
      obtained from DMV records.

      When the entirety of the information in a document or other record is
      derived from personal information obtained from DMV records, the
      whole of the record may be withheld. Nevertheless, when only some of
      the information is or derives from personal information obtained from
      DMV records, the record or document must be disclosed with only
      personal information or derived information redacted.

Appx036-037.




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      The District Court’s correctly concluded that the DPPA “does not protect

information derived from non-DMV sources even when that information is

included in a record containing personal information obtained from DMV records”

because the DPPA protects only personal information “obtained by the department

in connection with a motor vehicle record.” 18 U.S.C. § 2721. As the District

Court recognized, “[p]ersonal information is ‘from’ a motor vehicle record when it

derives from state DMV sources.” Appx016.

       The narrow scope of the DPPA exemption also reveals what is not exempt

from disclosure: information that was not derived from DMV sources. The

immense scope of non-exempt information includes any information obtained in

connection with a voter registration record or list maintenance activity.

      Other than the INS indicator and perhaps driver’s license number, all

registrant data used to mail letters to registrants —including the registrant’s name

and address—was already in the Commonwealth’s possession throughout the

entire review of the PennDOT Error and well before any comparison with

PennDOT records. That the Commonwealth chose to look at discrete and isolated

data in motor vehicle records to help verify citizenship status does not

transmogrify all voter registration records held by the election officials into data

that is confidential under other federal laws—particularly information provided on


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a registration application, like name and address. See Project Vote, 682 F.3d 331

(applications subject to disclosure under NVRA). As a matter of well-established

law, the Commonwealth’s argument holds no merit.

      To find as the Commonwealth urges would elevate the DPPA over the

NVRA in contravention of the Supreme Court’s instruction to harmonize federal

laws and apply them so that “each [i]s effective.” Mancari, 417 U.S. at 551. The

District Court followed those instructions and applied the DPPA so that only

information derived exclusively from motor vehicle records would remain

confidential, and so that voter list maintenance records would be transparent, as

Congress intended. That correct decision should not be disturbed.

          C. The Commonwealth’s Baseless Speculation Cannot Veto Federal
             Law.

      The Commonwealth strays even further from the relevant inquiry when it

conjures up imaginary threats as a last resort to conceal its activities. In this fiction,

the Commonwealth includes “expos[ing] eligible voters on the list to the threat of

unwarranted criminal prosecution and the risk of other harassment and abuse,”

discouraging “eligible citizens from registering to vote,” and “discrimination,

especially toward minority groups.” Doc. 25 at 40-41. The Foundation never had

an intention to engage in these activities, and the Commonwealth’s musings should

not be treated as relevant facts of record.

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      More problematic for the Commonwealth, the Elections Clause does not

tolerate restrictions on Congressional powers based on an upside down strict-

scrutiny style analysis. Congress decides what must be disclosed, not state officials

imagining scenarios where they invent compelling reasons in order to replace the

laws Congress passed.

      The Commonwealth even resorts to personal attacks on the Foundation,

imagining that if this Court affirms the judgment it will result in threats,

harassment, and abuse. (Doc. 25 at 40.) Nonsense. The Commonwealth also

inaccurately references unfounded and unproven accusations made against the

Foundation by ideological opponents. (Doc. 25 at 41 n.41.) If the Commonwealth

suggests that the Foundation, specifically, should be denied the benefit of federal

rights, the Foundation may have a claim against the Commonwealth for viewpoint

discrimination. America is a country where government officials are not allowed to

disregard the law when the law benefits those with whom government officials

disagree. Regardless, federal laws against voter intimidation already address the

Commonwealth’s proffered concerns, all of which will survive this case. See Doe

v. Reed, 561 U.S. 186, 228 (2010) (Scalia, J., concurring).

      Courts have granted exemptions from facially valid disclosure laws in rare,

specific, and extreme cases. In NAACP v. Ala. ex rel. Patterson, 357 U.S. 449, 462


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(1958), petitioners “made an uncontroverted showing that on past occasions

revelation of the identity of its rank-and-file members has exposed these members

to economic reprisal, loss of employment, threat of physical coercion, and other

manifestations of public hostility.” The plaintiffs in Brown v. Socialist Workers ‘74

Campaign Comm., 459 U.S. 87, 99 (1982) likewise “introduced proof of specific

incidents of private and government hostility” including “the firing of shots at an

SWP office.” In contrast, courts deny exemptions where a plaintiff presented

“anecdotal evidence … that offers merely a speculative possibility of threats,

harassment, or reprisals.” Doe v. Reed, 823 F. Supp. 2d 1195, 1204 (W.D. Wash.

2011); see also Protectmarriage.com v. Bowen, 830 F. Supp. 2d 914, 933 (E.D.

Cal. 2011) (requiring “evidence of thousands of acts of reprisals, threats or

harassment” to obtain disclosure exemption). Here, “no evidence” of threats or

harassment exist so, no exemption is warranted. Citizens United v. FEC, 558 U.S.

310, 370 (2010) (discussing disclosure of campaign contributions).

      The Commonwealth’s defense rests entirely on speculation —that if the

Foundation learns how Commonwealth officials created and responded to a

decades-long blunder, the public at-large will refuse to participate in the electoral

process. The Commonwealth explains that it already produced the names and

voting histories of registrants whose voter registrations were canceled and the


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“reason for the cancelation by a county is listed in the SURE system as non-

citizen[.]” (Doc. 25 at 13.) Yet the Commonwealth fails to offer a single instance

where voter participation was discouraged, or where a cancelled registrant

experienced any type of harassment or threat.

      The District Court properly considered privacy issues and prudently

“adopted the redaction scheme employed by the Court of Appeals for the Fourth

Circuit in a similar case,” NCSBE, 996 F.3d at 267. This redaction scheme allows

the Commonwealth to redact the identities of any letter recipients who was

“‘initially identified as potentially failing to meet the citizenship requirement for

voter registration but ultimately exonerated.’” Appx038 n.7 (quoting N.C. State Bd.

of Elections, 996 F.3d at 267).

      Of the 11,198 individuals who received the Affirm of Cancel Letter, 1,915

“affirmed their registration.” (ECF 66-4 at (1)(a)(i)(1).) Those 1,915 registrants are

the only registrants who can be characterized as “exonerated” because

“exonerated” means “to clear from accusation or blame.” Merriam-Webster

Dictionary, https://www.merriam-webster.com/dictionary/exonerate.

Registrants who cancelled their registrations or did not return the Affirm or Cancel

Letter were not “exonerated,” as the District Court recognized. Appx056 n.7

(“Neither category of individuals was “exonerated.”).


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      This redaction scheme is logical because, as the Fourth Circuit observed, it

is “[b]eing improperly identified as a noncitizen” that raises privacy concerns, not

merely being subjected to scrutiny. NCSBE”, 996 F.3d at 267. Voter list

maintenance naturally involves scrutiny. If scrutiny were enough, the exception

would swallow the rule, and erode the transparency Congress intended.

      The District Court prudently chose tailored redactions over complete

withholding, recogniz[ing] [that] such disclosures affect the privacy of these

individuals, but Congress prioritized transparency over privacy in crafting the

NVRA’s broad disclosure requirements.” Appx056. To be sure, Congress, not the

Commonwealth, determines federal policy. On that point, the Fourth Circuit’s

reasoning is also particular apt:

      It is not the province of this court, however, to strike the proper balance
      between transparency and voter privacy. That is a policy question
      properly decided by the legislature, not the courts, and Congress has
      already answered the question by enacting NVRA Section 8(i)(1),
      which plainly requires disclosure of completed voter registration
      applications.

Project Vote, 682 F.3d at 339-40.

          D. Congress Intended for Disclosure of Names and Addresses.

      The Commonwealth’s request to conceal names and addresses is also

inconsistent with Congress’s view that disclosure of such information is necessary

to achieve the NVRA’s purposes. In Section 20507(i)(2) Congress made personally

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identifying information public—specifically, “names and addresses.” 52 U.S.C. §

20507(i)(2). Without personally identifying information one registrant cannot be

distinguished from another. In other words, the public cannot effectively evaluate

the efficacy and lawfulness of officials’ actions unless the public can accurately

identify the subject of a particular list maintenance action, such as

disenfranchisement via cancellation.

      The mandatory disclosures described in Section 20507(i)(2) are the “names

and addresses of all persons to whom notices described in subsection (d)(2) are

sent, and information concerning whether or not each such person has responded to

the notice as of the date that inspection of the records is made.” The notices

“described in subsection (d)(2)” are address confirmation notices. See 52 U.S.C. §

20507(d)(1)-(2). In other words, Section 20507(i)(2) requires disclosure of the

names and addresses of registrants whose eligibility to vote requires more scrutiny

in terms of residency.

      Compare the mandatory disclosures to the records the Commonwealth asks

to conceal: the names and addresses of “registrants whose eligibility to vote

required additional scrutiny in terms of citizenship.” Appx028. In each case, the

registrants in question received a letter concerning their eligibility. The records are

essentially the same. It is unreasonable, if not absurd, to think that Congress would


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require the public disclosure of voter’s names and addresses with respect to one

criterion for eligibility (residency), while tolerating the Commonwealth’s

concealment of the same information with respect to a different criterion for

eligibility (citizenship).

       The District Court did not err when it simply treated similar records the

same. The Commonwealth’s demand for additional, extra-textual exemptions is

meritless. What is reasonable—and what is consistent with the NVRA’s

purposes—is to conclude, as the District Court did, that Congress believed public

disclosure of names and addresses is required and necessary to achieve the

statute’s goals of making election officials’ work transparent.

   IV.    The District Court Erred When It Held that the Commonwealth’s
          Voter List Maintenance Records Qualify as Attorney Work Product.

       According to the Commonwealth, at some point in “late-2017,” it hired

outside counsel, who then hired a so-called “expert,” who performed the

Noncitizen Matching Analysis—the analysis that ultimately determined which

registrants should receive letters concerning their eligibility, including the Affirm

or Cancel letter. (See Doc. 25 at 7-8.)

       The District Court held that “the work-product doctrine shields the records

produced in conjunction with the noncitizen matching analysis from disclosure.”

The District Court noted:

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         Our holding on this point should not be construed as stating that the
         work-product doctrine applies to: (1) the analysis done by the
         Commonwealth before retention of the expert, (2) records used by the
         expert to conduct their analysis, or (3) the thousands of letters sent to
         potential noncitizen registrants based upon the results of the noncitizen
         matching analysis. The work-product doctrine applies solely to the
         documents and records produced by the expert at the request of counsel
         in anticipation of litigation.

Appx043 n.11. The District Court clarified its holding further in a subsequent

order:

         The intention of our footnote was to make clear that records otherwise
         subject to disclosure do not receive work-product protection merely
         because the expert viewed them. That is, records created specifically
         for the expert to review are protected by the work-product doctrine, (see
         Doc. 83 at 18-20), but the work-product doctrine does not protect
         records otherwise subject to disclosure created in the ordinary course
         of business or for purposes other than litigation[.]

Appx055 n.4. Relying on these rulings, the Commonwealth appears to have

withheld all records sent to, considered, or used by its “expert” as part of the

Noncitizen Matching Analysis.

         The District Court erred when it held that the attorney work product

doctrine applied to these records in these circumstances.

            A. The Attorney Work Product Doctrine.

         The attorney work product doctrine protects “documents and tangible things

that are prepared in anticipation of litigation or for trial by or for another party or

its representative[.]” Fed. R. Civ. P. 26(b)(3)(A). Third Circuit considers “the

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nature of the document[s] and the factual situation” to determine whether “the

document[s] can fairly be said to have been prepared or obtained because of the

prospect of litigation.” United States v. Rockwell Int’l, 897 F.2d 1255, 1266 (3d

Cir. 1990) (citations and quotations omitted). Fundamentally, “[t]he preparer’s

anticipation of litigation must be objectively reasonable.” Martin v. Bally’s Park

Place Hotel & Casino, 983 F.2d 1252, 1260 (3d Cir.1993). “This requires proof of

‘an identifiable specific claim or impending litigation when the materials were

prepared.’” Fox v. Lackawanna Cty., No. 3:16-CV-1511, 2018 U.S. Dist. LEXIS

145073, at *8 (M.D. Pa. Aug. 27, 2018) (citations omitted). The “rule of thumb” is

that “‘if the document would have been created regardless of whether litigation

was expected to ensue, the document is deemed to have been created in the

ordinary course of business and not in anticipation of litigation.’” Heinzl v.

Cracker Barrel Old Country Store, Inc., No. 2:14-cv-1455, 2015 U.S. Dist. LEXIS

146825, at *17 (W.D. Pa. Oct. 29, 2015) (citations omitted). In addition, “‘the

material must have been produced because of the prospect of litigation and for no

other purpose.’” United States v. Ernstoff, 183 F.R.D. 148, 156 (D.N.J. 1998)

(citations omitted). Business documents’ mere “‘potential use in pending litigation

does not turn these documents into work product or confidential communications

between client and attorney.’” Id. (citations omitted).


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         A. The Commonwealth Was Motivated by the Need to Remedy a
            Long-Standing List Maintenance Mistake.

      The Commonwealth’s need and desire to fix its egregious voter list

maintenance blunder due to the PennDOT Error motivated its actions. The

Commonwealth response to the PennDOT Error stretches back to at least

September 2015, more than two years before the Foundation’s records request, and

more than two years before outside counsel hired the “expert.” See ECF 70-6 at 3

(September 2015 entry); ECF 66-1 at 115:2-7.

      The Commonwealth conducted the Initial Analysis using PennDOT records

in the Summer of 2017, months before the Foundation’s records request. See ECF

70-6 at 3 (August 2017 entry); (ECF 66 ¶¶ 47-52 (describing analysis)). More than

one month before the Foundation’s records request, the Commonwealth conducted

the Statewide Analysis, which included a review of SURE system records “that

were cancelled for the reason ‘Not a Citizen.’” ECF 70-6 at 3 (September 2017

entry); ECF 64-1 ¶¶ 9-10; ECF 66 ¶¶ 55-61. Why did the Initial Analysis and

Statewide Analysis happen? The Commonwealth explains that it “wanted to

understand both the scope of the issue and, and also the potential causes of it, so

that any additional enhancements that [it] made would be effective.” ECF 66-1 at

115:12-21; see also ECF 66-2 at 1 (“The Department undertook an analysis of the

statewide voter registration database to determine whether ineligible residents were

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registering and voting. We are using this analysis as a starting point to examine

every part of the voter registration process.”). In other words, the Commonwealth

aimed to understand its problem and find a remedy that would improve its list

maintenance process.

      At that point, the Commonwealth had not yet contacted any registrants to

notify them of the PennDOT Error or to ask them to confirm their eligibility. This

was a logical next step in the process, and shortly after the Statewide Analysis

concluded, the Commonwealth conducted yet another analysis, ECF 66 ¶¶ 62-74—

the Noncitizen Matching Analysis. The Commonwealth stated the purpose of the

Noncitizen Matching Analysis in a July 2018 written statement: “to investigate and

address the concern that some ineligible individuals registered to vote[.]” ECF 66-

4 at 1. The Commonwealth explained further that the “goal in this process was to

protect the integrity of elections in Pennsylvania.” Id. Defendants even revealed

that it “knew that it was imperative to address the problem” “when [it] learned that

ineligible residents may have registered to vote….” Id. (emphasis added). In other

words, the Noncitizen Matching Analysis was part and parcel of the

Commonwealth’s holistic list maintenance response to the PennDOT Error, a

response that began as early as 2015. If there remains any doubt, consider the

Commonwealth’s conclusion in its July 2018 statement: “We remain confident that


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this careful, deliberate approach was the most responsible way to remedy a

decades-old problem while ensuring that no eligible voter is disenfranchised.” Id.

(emphasis added).

      The Commonwealth bears the burden of showing that the documents in

question were prepared in anticipation of litigation. Holmes v. Pension Plan of

Bethlehem Steel Corp., 213 F.3d 124, 138 (3d Cir. 2000). On the Commonwealth’s

side of the ledger is a single paragraph in a conclusory, self-serving affidavit from

Defendant Jonathan M. Marks. Appx094 ¶ 17. Defendant Marks states, “The work

performed by the consulting expert was at the request of counsel, was in

anticipation of litigation from any number of sources arising from the PennDOT

software glitch and was for the purpose of providing legal advice.” Id. Privilege

claims based on similarly thin, self-serving support have been rejected. See

Smithkline Beecham Corp. v. Apotex Corp., 193 F.R.D. 530, 540 (N.D. Ill. 2000)

(rejected claim based on “self-serving statement”); Maint. Enters. v. Dyno Nobel,

Inc., No. 08-CV-170-B, 2009 U.S. Dist. LEXIS 139793, at *19 (D. Wyo. Nov. 13,

2009) (rejecting claim based on “single statement in [an] affidavit”).

      The Commonwealth’s proffered concern about “litigation from any number

of sources” does not establish “objectively reasonable” anticipation, Martin, 983

F.2d at 1260, nor “proof of an identifiable specific claim,” Fox, 2018 U.S. Dist.


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LEXIS 145073, at *8 (quotations omitted). In fact, it shows the opposite—that the

Commonwealth now claims to have believed the threat of litigation might simply

be in the air. The Commonwealth must show more than a retroactive claim to a

nervous disposition to invoke the attorney work product doctrine.

      The Commonwealth does not state the potential cause of action or litigation

theory it feared, even in general terms. No action would lie under the NVRA

because as the Commonwealth often repeats, the statute requires removal of only

deceased and relocated registrants. See 52 U.S.C. 20507(a)(4). Nor could an action

lie under Commonwealth law because as the Commonwealth explains,

“Pennsylvania does not have a program for systemically targeting and removing

suspected non-citizens from the voter rolls.” Doc. 25 at 32. Furthermore, the record

lacks even a scintilla of evidence that noncitizens impacted by the PennDOT Error

considered legal action.

      Nor would it make any sense to fear litigation based on the Foundation’s

records request. The work-product privilege protects documents, not facts within

those documents. Heinzl, 2015 U.S. Dist. LEXIS 146825, at *13-14. It is circular

and nonsensical to conclude that that responsive records were created because, and

only because, the Commonwealth allegedly feared litigation aimed at obtaining

those same records. Zero record evidence supports the Commonwealth’s belief that


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litigation seeking any other type of relief was likely or possible. The last thing a

reasonable official would do if she feared public-records litigation is create more

public records—unless, of course, the creation of those records had an entirely

different purpose—such as remedying a longstanding list maintenance problem—

which is plainly the case here.

      To find that the Noncitizen Matching Analysis had “no other purpose” than

litigation readiness, Ernstoff, 183 F.R.D. at 156, requires the Court to also find that

the requested records would not have been created absent litigation fears. In other

words, this Court must accept that the Commonwealth would not have contacted

registrants about their eligibility if it did not believe it would be sued. Such a

finding cannot be sustained on the record. The Commonwealth set out to remedy

the PennDOT Error when it learned of the problem in 2015. It engaged in

preliminary analyses to assess the problem from a high level (“Initial Analysis”).

The Commonwealth then investigated how many registrants had already been

removed from the voter roll for citizenship defects (“Statewide Analysis”). One

thing was missing—the Commonwealth had yet to implement a remedy to address

potential noncitizens who were currently registered to vote.

      Enter the Noncitizen Matching Analysis. This final stage of the process was

about completing the remedy—not litigation. “[T]he factual situation in th[is]


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particular case” demonstrates that the allegedly privileged analysis was conducted

“in the ordinary course of business” Rockwell Int’l, 897 F.2d at 1265-66, and

would have proceeded as planned “regardless” of whether the Foundation had

asked to inspect records. Heinzl, 2015 U.S. Dist. LEXIS 146825, at *17.

      Holmes v. Pension Plan of Bethlehem Steel Corp., 213 F.3d 124 (3d Cir.

2000) is instructive. Holmes involved claims for interest payments on pension

benefits under the Employment Retirement Income Security Act. Id. at 128. Before

seeking relief in federal court, one of the appellants “pursued his interest claim

through administrative channels. His original claim to interest prompted a Plan

attorney to prepare a legal memorandum analyzing the merits of the claim. Once

judicial action had been initiated, Appellants moved to compel production of that

memorandum during discovery.” Id. at 138. The Magistrate Judge “concluded that

‘it is apparent the [memorandum] was prepared in anticipation of possible future

litigation. In addition, it is reasonable to conclude that the document would not

have been prepared but for the prospect of litigation.’” Id. at 138. The District

Court affirmed. Id. The Third Circuit disagreed.

      The Magistrate Judge’s conclusions may be reasonable, but they are
      based on nothing more than assumptions. There is nothing in the record
      indicating that the Defendants have carried their burden of showing that
      the memorandum was, in fact, prepared in anticipation of possible
      litigation. Indeed, the Defendants appear to have claimed nothing more
      than that “the memorandum was written in connection with the claim

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      by Plaintiff Holmes . . . and . . . is, therefore, privileged and immune
      from discovery under . . . the work product doctrine.” … The mere fact
      that the memorandum was prepared “in connection with” Plaintiff
      Holmes’ administrative claim to interest on his delayed benefits hardly
      establishes that it was prepared in anticipation of litigation. The
      Magistrate Judge abused his discretion in assuming otherwise.
      Therefore, we will reverse the order denying Appellants’ request for
      production.

Id. at 139.

      The District Court similarly based its ruling on assumptions.

      The risk of litigation in the wake of a public scandal involving the
      possibility of illegal voting, coupled with an atmosphere of anxiety
      about election security, is obvious. In the instant matter, despite the
      absence of a specific notice of intent to file suit, the general threat of
      litigation in the wake of such a resonant scandal is sufficient to invoke
      the work-product doctrine. It is clear to the court that, in light of the hue
      and cry over the glitch, the Commonwealth developed the noncitizen
      matching analysis with the assistance of its expert as a means of
      responding to heightened scrutiny of the kind that would be imposed
      through the civil justice system.

      Appx040-041. None of these sentences are supported by a citation to the

record. “Anxiety,” “scandal,” and generic “heightened scrutiny” are amorphous

concepts that do not naturally create an objectively reasonable “risk of litigation.”

The District Court faulted the Foundation for not overcoming the assumed risk

factors described above. That is not the Foundation’s burden. The work product

doctrine requires the Commonwealth to prove an objective risk of litigation exists.

Holmes, 213 F.3d at 138. The Commonwealth has not done so. It has “claimed


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nothing more” than the work of its expert was done in anticipation of litigation.

Appx094 ¶ 17, the same conclusory, self-serving claim that was rejected in

Holmes, 213 F.3d at 139.

      Even if some documents qualify as attorney work product, the judgment on

this issue should be reversed because the Commonwealth did not justify the

attorney work product privilege on a document-by-document basis, provide a

privilege log, or produce records with privileged material redacted. See Rockwell

Int’l, 897 F.2d at 1265 (explaining that “claims of attorney-client privilege must be

asserted document by document, rather than as a single, blanket assertion”).

         B. Due to the Passage of Time, the Absence of Litigation, and the
            Compelling Need for Transparency, the Attorney Work Product
            Doctrine Should Yield to Congress’s Goals in These
            Circumstances.

      Six years have passed since the Commonwealth believed litigation was

likely to ensue. Yet no litigation has ensued. The “hue and cry,” Appx041, over the

PennDOT Error disappeared years ago. Interested legislative committees have

moved on to other matters. The Commonwealth cannot seriously maintain that it

presently fears litigation. Yet the Foundation and the public remain in the dark.

      The impact of the District Court’s ruling cannot be understated: as applied

here, the attorney work product doctrine would obliterate a federal law Congress

passed to protect the right to vote. Because the Commonwealth abdicated its voter

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list maintenance responsibilities to outside counsel, the public is unable to answer

vital questions about how its government identified ineligible registrants in the

Commonwealth. Which questions cannot be answered? Here’s a few:

      1. Who was the expert hired to make eligibility determinations?
      2. What made him or her an “expert” in determining whether a registrant is
         potentially a foreign national?
      3. How did the expert determine which registrants “required additional
         scrutiny in terms of citizenship?” Appx028.
      4. What were the steps in the expert’s methodology, e.g., which databases
         did the expert use or not use?
      5. How did the expert decide that only 11,198 registrants should receive
         eligibility letters, when the Commonwealth’s prior analysis revealed
         more than 100,000 registrants with INS indicators in their motor vehicle
         records? See Statement of Facts ¶ 6, supra.
      6. How did the expert or the Commonwealth determine the recipient’s
         address for the Affirm or Cancel letter (recall: more than 1,900 letters
         were sent to outdated addresses (see ECF 66-4 at 3)).
      7. Did the Commonwealth scrutinize each registrant with cause or without
         cause?

Congress designed the NVRA Public Disclosure Provision so the public could

answer these questions. But the public cannot answer these questions because the

Commonwealth is hiding behind the attorney work product doctrine, thereby

frustrating the intent of Congress.

      Attorney work product protection is not absolute and can be overcome by a

showing that the opposing part has a “substantial need” for the requested

documents. This dispute primarily involves documents prepared by a non-attorney
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“expert,” which would qualify as “ordinary work product.” See In re Cendant

Corp. Sec. Litig., 343 F.3d 658, 663 (3d Cir. 2003). Such documents ordinarily do

not receive enhanced protection in the discovery process and can be obtained by

showing “need and hardship.” Id.

      This is not a discovery dispute. Yet the unique circumstances of this case,

the paramount importance of transparency in the electoral process, the

countervailing interests rooted in the NVRA, and the low-level of protection

ordinarily afforded work product of the type at issue, warrant similar

considerations. The Foundation and the public need the records to further

Congress’s goals. The Foundation and the public will face hardship if the

Commonwealth’s list maintenance records remain shielded for all time. On the

other hand, the Commonwealth will remain similarly situated. In these

circumstances, the attorney work product doctrine should not stand as an obstacle

to Congress’s objectives.

                                     CONCLUSION

      For these reasons, this Court should affirm the judgment in the Foundation’s

favor and reverse the District Court’s finding that the Commonwealth’s voter list

maintenance records qualify as attorney work product.




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Dated: November 3, 2023.

Respectfully submitted,

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                   CERTIFICATE OF BAR MEMBERSHIP

      Pursuant to Circuit Rule 46.1(e), I certify that I am a member in good

standing of the bar of the United States Court of Appeals for the Third Circuit.



                                 /s/ Noel H. Johnson
                                Noel H. Johnson
                                Counsel for Public Interest Legal Foundation

Dated: November 3, 2023.




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                   CERTIFICATE OF COMPLIANCE AND
                      VIRUS SCAN CERTIFICATION

       I, Noel H. Johnson, certify the following:

       1.    This brief complies with the type-volume limits of Fed R. App. P.

28(e)(2)(B)(i) because, excluding the parts of the brief exempted by Rule 32(f),

this brief contains 15,299 words.

       2.    This brief also complies with the typeface requirements Fed. R. App.

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       3.    The text of the electronic and hard copies of this brief are identical;

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Avast Business Antivirus, which detected no viruses.



                                  /s/ Noel H. Johnson
                                 Noel H. Johnson
                                 Counsel for Public Interest Legal Foundation

Dated: November 3, 2023.




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                         CERTIFICATE OF SERVICE

      I hereby certify that on November 3, 2023, I electronically filed the

foregoing using the Court’s ECF system, which will serve notice on all parties.


                                              /s/ Noel. H Johnson
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